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                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division


JUUL LABS, INC.,

                   Plaintiff,


v.                                                   Civil Action No. 1:19-cv-00715


YASER AHMED, GREG HILLHOUSE, PANTELEY
NIKOLOV, MIN ZHANG (敏 张), DANIEL WHITE,
WENJIANG MAI, DONG DONG WANG (东东 王),
ARTHUR BERNARD, MARK DERIAS, KEVIN
SULLIVAN, ANTONIO CRESSOTTI, RUSSELL
MCGOWAN, ZHENYU ZHU, LIAN CUI JIANG (莲翠
蒋), XIAO HUA WANG (小华 汪), ROY WALKER,
YERVAND SETOYAN, GREG WILSON, EMAN
GHALY, HAI YAN XIANG (海艳 项), JORDAN HORST,
MYRON DOYLE, BENZ TRAN, DENNIS HAMMER,
JIAQI CHEN, DUY TRAN, ANGELENE QUIMBAYA,
KENNETH BUSS, PENG LIN (鹏 林) IVAN
ZAMBAROV, APRIL CASELLA, NIKOLAY
ZANBAROV, TRACY WISBY, MERVAT
ABOULAYLA, NOAH MARTANO, NICOLE EGDORF,
JOSIF LEITNER, HARLEN NAPPI, ROBERT RULE,
MINGHUA HUANG, SARAH GRIFFITH, JACOB
COLEMAN, SLADE HANSON, ALEJANDRO PIEDRA,
CHRISTY VASQUEZ, HUI QI LIN (辉棋 林), WENBO
LEI, MARCIO DIAZ, ALI TOY, JESSE LAZAR, SIBEL
TOY, NIDAL HAMAYEL, IMAD RIHAN, ZAHEY
SAMEEH, JASON KIM, FREDERICK ROESEL, YAN
XIONG, BOBBY TAYLOR, CAROL PRINE, JIAWEI
HUANG, DARIO VASQUEZ, KENGATE LEEN,
JORDAN MCLEOD, KYLE JACKSON, KYLE
PATTERSON, KIMBERLY STRATOS,

                   Defendants.
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       [PROPOSED] ORDER FOR ENTRY OF A PRELIMINARY INJUNCTION

       Upon consideration of Plaintiff’s Motion for Entry of a Preliminary Injunction and

memorandum in support of the Motion, it is hereby:

       ORDERED that the Motion shall be, and hereby is, granted; and it is further

       ORDERED that PayPal shall continue to freeze all accounts associated with Defendants

identified in Schedule A to the Complaint and restrain and enjoin from transfer any monies held

in such accounts until further ordered by this Court.


       SO ORDERED THIS                 day of                     , 2019.




                                                              United States Magistrate Judge




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